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                       UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                MIDLAND-ODESSA DIVISION

United States of America                          §
                                                  §
vs.                                               §     Case Number: MO:19-CR-00260(1)-DC
                                                  §
(1) John Gene Mitchell                            §
 Defendant



                                  SCHEDULING ORDER
     TAKE NOTICE that the above entitled case has been set for a DOCKET CALL before
United States Magistrate Judge Ronald C. Griffin on January 08, 2020 at 09:00 AM in the
Midland Magistrate Courtroom located at 200 E. Wall, Midland, Texas 79701.

      Non-detained defendants, defense counsel, and government counsel must PERSONALLY be
present for the docket call. If a detained defendant desires to be present, counsel must notify the
Courtroom Deputy for the Magistrate Judge, Monica Ramirez at (432) 685-0349, forty-eight (48)
hours prior to the hearing.

The following instructions should be understood by counsel and the defendant:

                             Requests for Continuance of Docket Call

        1) Any motions for continuance for the appearance of counsel and/or the defendant at the
           docket call must be electronically filed with the Clerk of Court on or before the close of
           business on JANUARY 6, 2020. The motion should be styled "Motion for Continuance
           of Docket Call" so that it may be distinguished from a motion for continuance for the
           trial setting.

                                      Resolution Prior to Trial

        2) At the docket call, the parties are expected to announce the status of the case. If a
           defendant intends to enter a plea of guilty, defense counsel should coordinate a time for a
           plea by notifying Monica Ramirez at (432) 685-0349 or Dwendy Pennell at (432)
           570-4439.

                      Avoiding Necessity of Appearance if "Ready for Trial"

        3) If the defendant anticipates a trial and defense counsel will answer "Ready for Trial,"
           then an appearance by the defendant and defense counsel can be avoided by filing a
           written announcement of ''Ready for Trial'' prior to JANUARY 6, 2020.

                Avoiding Necessity of Appearance if Plea Entered or Plea Date Set

        4) If the defendant has entered a plea or defense counsel has scheduled a plea, they are
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          EXCUSED from the docket call.

                         Jury Trial Dates and Motions for Continuance

      5) Jury selection and trial will be set for FEBRUARY 3, 2020 AT 8:30 AM. If defense
         counsel or defendant intends to have a trial and cannot be ready for trial as the matter is
         currently scheduled, then a "Motion for Continuance of Trial" must be electronically
         filed with the Clerk of Court prior to the docket call setting stating with great specificity
         the basis for the motion.

                                          Trial Exhibits

      6) The Court uses the software application known as JERS (Jury Evidence Recording
         System) in the courtroom. This application works in conjunction with the courtroom
         evidence presentation equipment by allowing the Court to capture and release to the jury
         admitted evidence that is presented by attorneys during a jury trial. Upon completion of
         evidence presentation by the parties, the Court will release the admitted exhibits to the
         jurors in the jury deliberation room where they can view the admitted exhibits using a
         touchscreen monitor. Counsel should submit all exhibits electronically (i.e. by thumb
         drive, CD, or other electronic media) to the District Judge’s Courtroom Deputy, Cristina
         Lerma, by noon on the Wednesday prior to the start of the trial. Please refer to the
         attached “Jury Evidence Recording System (JERS) Requirements” document as a
         reference on how your exhibit files should be formatted to allow for an electronic batch
         import of these exhibits.

                                      Plea Bargain Deadline

      7) The plea bargain deadline for this case is JANUARY 23, 2020.

                                         Pretrial Motions

      8) Any pretrial motions must be filed in accordance with Local Rule CR-12.

                                    Duty to Notify Defendant

      9) Defense counsel are reminded of their duty to notify the defendant of the defendant's
         required appearance at docket call.


It is ORDERED this 19th day of December, 2019.



                                                 ______________________________
                                                 RONALD C. GRIFFIN
                                                 UNITED STATES MAGISTRATE JUDGE
